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AO 91 (Rev. ll/l l) Criminal Complaint

 

 

UNITED STATES DISTRICT C" '

 

 

 

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Z§l§ Ez:i. ll ?l~€ 3= 35
Northern District of Texas _
United States of America ) irs TY cg E?PK~
v. )
) CaseNo.1_18MBL_0090
ALEX cARBAJAL § 1 18 MJ~_ -B
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 9, 2018 in the county Of Jones in the
Northern District of Texas , the defendant(s) violated:
Code Section Ojj"ense Description
Tit|e 21 U. S. C. §§ 841(3)(1); 841 Possession with the lntent to Distribute Marihuana

(b)(1)(D)

This criminal complaint is based on these facts:

SEE ATTACHED CR|MINAL COMPLA|NT AFF|DAV|T OF DEA SPEC|AL AGENT JOVANN| SUAREZ WH|CH |S
ATTACHED AND |NCORPORATED HERE|N.

d Continued on the attached sheet. Q'JQ$

Complainanl ’s sign¢ém~c~/
Jovanni Suarez - SPEC|AL AGENT -DEA

Printed name and title

 

Sworn to before me and signed in my presence.

Date; 12/11/2018 /M

Jua’ge’ s signature

 

City and state; AB|LENE, TEXAS E. SCOTT FROST, United States Magistrate Judge

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Jovanni Suarez, after being duly vaorn, depose and say as follows:
I. Introduction

l. My name is Jovanni Suarez, l am an investigative or law enforcement
officer for the United States, Within the meaning of 18 U.S.C. § 2510(7), and I am
empowered by law to investigate and arrest persons for offenses enumerated in 21 U.S.C.
§ 841.

2. I have been a DEA special agent since 2016, and l am currently assigned
to the Dallas Field Division, Lubbock (Texas) Resident Office. I attended the DEA basic
training academy located in Quantico, Virginia. There, I received training in
investigating drug offenses, drug conspiracies, and financial crimes. In addition, l also
received training in undercover operations, visual and electronic surveillance,
interviewing confidential sources, executing searches and seizures, Writing affidavits to
` support arrest and/or search Warrants, recognizing drugs, exploiting communication
devices, use of force, clandestine laboratory and laboratory procedures

3. Based on my training and experience, I am familiar With the Ways drug
trafficking organizations (DTOs) conduct their business. My familiarity includes the
methods by Which DTOs illegally smuggle, distribute, and transport narcotics; their use
of cellular telephones and stored-value cards to facilitate narcotic and cash smuggling
activities; and their use of numerical codes and code Words to conduct narcotic
transactions I am also familiar With the Ways that DTOs conceal, convert, transmit, and
transport currency and proceeds, and the use of third parties to purchase or hold title to

aSS€tS.

Affidavit - 1

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II. Probable Cause

4. l have probable causeto believe that Alex Carbajal has violated 21 U.S.C.
§§ 84l(a)(l) and 84l(b)(l)(D), that is, possession with the intent to distribute marihuana,
a schedule l controlled substance.

5. The following information is based on my own observations and
information provided to me by other law enforcement officers involved in the
investigation Since l am submitting this affidavit for the limited purpose of establishing
probable cause, I have not included every fact known to me and other investigators
Rather, l am only submitting the facts necessary to establish probable cause that Carbajal
knowingly and intentionally possessed with the intent to distribute approximately sixty-
eight (68) pounds marihuana

III. Background

6. On December 9, 2018, at approximately 2:()0 p.m., Anson Police
Department Officer Chris Levens conducted a traffic stop on a Chevrolet Avalanche.
Officer Levens observed the vehicle traveling 42 miles per hour in a 30 mile per hour
Zone on Commercial Avenue in Anson, J ones County, Texas, which is located in the
Northern District of Texas. The driver and sole occupant was identified as Alex Carbaj al.
Carbaj al did not have proof of insurance or a driver’s license, and the license plates on
the Avalanche did not belong to it. Officer Levens became suspicious that Carbaj al may
have been trafficking narcotics, so he requested that Officer Michael Prado respond to the
scene of the traffic stop with his National Drug Dog Association certified narcotic

detection canine. After arriving on scene, Officer Prado deployed his narcotic detection

Affidavit - 2

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canine, who then conducted a free air sniff around the Avalanche. The canine alerted
Officer Prado to the presence of narcotics inside the Avalanche.

7. Officers searched the Chevrolet Avalanche. During the search, officers
discovered false bottoms to tool boxes in the sides of the bed of the Avalanche. Inside
the modified tool boxes, officers found 60 plastic wrapped packages weighing
approximately one pound each. Inside the packages, officers were able to identify the
substance inside as marihuana from their training and experience.

8. After receiving his Miranda Warnings, Carbaj al confessed that he had
knowingly transported contraband from El Paso, TX with the intent to deliver the
contraband to a recipient in Kansas.

CONCLUSION

Based upon the information contained in this affidavit, l believe that there is

probable cause to believe Alex Carbaj al has committed a violation of 2l U.S.C. §§

84l(a)(l) and 84l(b)(1)(D), that is, possession with the intent to distribute marihuana.

C;'»-/%>

Jovanni Suarez, SPECIAL AGENT
DRUG ENFORCEMENT ADMINISTRATION

Sworn to before me on December f 4 , 2018.

//WM

E. scott FRosT
uNiTED sTATES MAGISTRATE JUDGE

Affidavit - 3

